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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                               No. 4:11CR00290-05 JLH

ERNEST RICHARD                                                                DEFENDANT

                                         ORDER

      Pending before the Court is defendant’s Motion to Continue Revocation Hearing currently

set for October 29, 2015. The motion is GRANTED. Document #606. The hearing on the pending

motion to revoke supervised release of defendant Ernest Richard is hereby rescheduled for

TUESDAY, NOVEMBER 3, 2015, at 9:30 A.M., in Courtroom #4-D, Richard Sheppard Arnold

United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas. Document #587.

      IT IS SO ORDERED this 29th day of October, 2015.



                                                 _________________________________
                                                 J. LEON HOLMES
                                                 UNITED STATES DISTRICT JUDGE
